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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )      Crim. No. 21-cr-40010-TSH
                                            )
ALAN JOSEPH,                                )
                                            )
                      Defendant.            )


                        GOVERNMENT’S FIRST WITNESS LIST

1.    Special Agent Derek Gerega, Federal Bureau of Investigation
2.    Special Agent Benjamin Slocum, Homeland Security Investigations,
3.    Jordon Sorrell, Homeland Security Investigations
4.    Theodore Vlahakis, Financial Crimes Enforcement Network (FinCEN) Representative
5.    Ari Jigarjian, Boston, MA
6.    Victoria LeBlanc, Gardner, MA
7.    Genelle Morton, Wenatchee, Washington

      The government reserves the right to supplement this list in a timely fashion.


                                            Respectfully submitted,

                                            RACHAEL S. ROLLINS
                                            UNITED STATES ATTORNEY

                                    By:     /s/ John T. Mulcahy
                                            JOHN T. MULCAHY
                                            LINDSEY WEINSTEIN
                                            Assistant U.S. Attorneys
Dated: May 20, 2022
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                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                              /s/ John T. Mulcahy
                                              JOHN T. MULCAHY
                                              Assistant U.S. Attorney

Dated: May 20, 2022




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